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                                                       EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 JOSEPHINE JAMES EDWARDS, individually and
 on behalf of all others similarly situated,

                                Plaintiff,                  Civil Action No. 15-cv-09279-AT-JLC

        v.

 HEARST COMMUNICATIONS, INC.,

                                Defendant.


                      CLASS ACTION SETTLEMENT AGREEMENT

       This Agreement (“Agreement” or “Settlement Agreement”) is entered into by and among

(i) Plaintiff, Josephine James Edwards (“Plaintiff”); (ii) the Settlement Class (as defined herein);

and (iii) Defendant, Hearst Communications, Inc. (“Defendant” or “Hearst”). The Settlement

Class and Plaintiff are collectively referred to as the “Plaintiffs” unless otherwise noted. The

Plaintiff and the Defendant are collectively referred to herein as the “Parties.” This Agreement is

intended by the Parties to fully, finally and forever resolve, discharge, and settle the Released

Claims (as defined herein), upon and subject to the terms and conditions of this Agreement, and

subject to the final approval of the Court.

                                        RECITALS

       A.      On May 21, 2015, Suzanne Boelter filed a putative class action in the United

States District Court for the Southern District of New York. See Boelter v. Hearst

Communications, Inc., Case No. 15-cv-03934-AT-JLC (S.D.N.Y.). The material allegations of

the complaint centered on Defendant’s alleged disclosure of its customers’ personal information

and magazine choices to third parties, which Plaintiff claims is without permission and in
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violation of Michigan’s Preservation of Personal Privacy Act, M.C.L. §§ 445.1711-15 (“VRPA”)

and allegedly resulting in the unjust enrichment of Defendant. (Boelter, Dkt. 1.)

        B.      In response to the complaint, on July 13, 2015, Defendant filed a letter requesting

a premotion conference on a motion to dismiss under Rules 12(b)(1) and 12(b)(6), arguing, inter

alia, that Plaintiff lacked Article III standing and failed to state a claim upon which relief could

be granted. (Boelter, Dkt. 11). The Court subsequently granted Defendant permission to file its

motion, and Defendant did so on August 17, 2015. (Boelter, Dkt. 17). On September 14, 2015,

Ms. Boelter filed her opposition brief. (Boelter, Dkt. 28). On October 2, 2015, Defendant filed

its reply brief. (Boelter, Dkt. 32).

        C.      On November 24, 2015, Plaintiff filed this putative class action in the United

States District Court for the Southern District of New York. The material allegations of the

complaint center on Defendant’s alleged disclosure of its customers’ personal information and

magazine choices to third parties, which Plaintiff claims is without permission and in violation of

Michigan’s Preservation of Personal Privacy Act, M.C.L. §§ 445.1711-15 (“VRPA”) and

allegedly resulting in the unjust enrichment of Defendant. (Edwards, Dkt. 1.)

        D.      On February 8, 2016, the Court entered a Stipulation and Order to Consolidate

Boelter and Edwards. (Edwards, Dkt. 13).

        E.      On February 26, 2016, Plaintiff and Ms. Boelter filed a Consolidated Class Action

Complaint. (Boelter, Dkt. 67; see also Edwards Dkt. 218).

        F.      On March 11, 2016, the Parties refiled their briefing on Defendant’s motion to

dismiss under Rules 12(b)(1) and 12(b)(6). (Edwards, Dkt. 18).

        G.      On May 17, 2016, the Court ordered the Parties to submit supplemental briefing

concerning Defendant’s motion to dismiss. (Edwards, Dkt. 21). On May 31, 2016, Defendant




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submitted its supplemental brief. (Edwards, Dkt. 22). On June 14, 2016, Plaintiff and Ms.

Boelter submitted their supplemental brief. (Edwards, Dkt. 24).

       H.      On June 17, 2016, the Court issued an order denying Defendant’s motion to

dismiss. (Edwards, Dkt. 26).

       I.      On August 9, 2016, the Court held an initial scheduling conference pursuant to

Fed. R. Civ. P. 16 and entered a phased discovery schedule. (Edwards, Dkts. 39 & 40). Phase I

discovery focused on the claims of the named Plaintiff and Ms. Boelter, while Phase II discovery

focused on the claims of the putative class. Id.

       J.      On October 17, 2016, the Parties entered into a stipulation of dismissal pursuant

to Fed. R. Civ. P. 41(a)(1)(A)(ii) voluntarily dismissing Ms. Boelter’s individual claims with

prejudice. (Edwards, Dkt. 67).

       K.      After the completion of Phase I discovery, on April 3, 2017, Defendant filed a

motion to dismiss and a motion for summary judgment. (Edwards, Dkt. 132). On May 1, 2017,

Plaintiff filed an opposition to Defendant’s motions (Edwards, Dkt. 146), as well as her own

motion for partial summary judgment. (Edwards, Dkt. 140). On May 22, 2017, Defendant filed

an opposition to Plaintiff’s motion for partial summary judgment (Edwards, Dkt. 160), and a

reply brief in support of its motions to dismiss and for summary judgment. (Edwards, Dkt. 165).

On June 7, 2017, Plaintiff filed a reply brief in support of her motion for partial summary

judgment. (Edwards, Dkt. 171).

       L.      On September 7, 2017, the Court issued a Memorandum Order granting in part

and denying in part both Parties’ motions for summary judgment, and denying Defendant’s

motion to dismiss. (Edwards, Dkt. 182).

       M.      The Parties then engaged in Phase II discovery, which they substantially

completed on June 7, 2018.


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       N.       From the outset of the case, the Parties engaged in direct communications, and as

part of their obligations under Fed. R. Civ. P. 26, discussed the prospect of resolution. Those

discussions eventually led to an agreement between the Parties to engage in mediation, which the

Parties agreed would take place before former U.S. Magistrate Judge Frank Maas (of the U.S.

District Court for the Southern District of New York), who is a neutral affiliated with JAMS

New York.

       O.       On March 12, 2018, the Parties participated in a mediation before Judge Maas at

JAMS’s offices in New York. The mediation lasted approximately 3 hours. While the Parties

engaged in good faith negotiations, which at all times were at arms’ length, they failed to reach

an agreement.

       P.       On June 11, 2018, the Parties participated in a mediation with Jay Cohen, Esq. at

the New York offices of Pillsbury Winthrop Shaw Pittman, LLP. The mediation lasted

approximately 15 hours. At the conclusion of the mediation the Parties reached agreement on all

material terms of a class action settlement, and executed a term sheet.

       Q.       At all times, Defendant has denied and continues to deny any wrongdoing

whatsoever and has denied and continues to deny that it committed, or threatened or attempted to

commit, any wrongful act or violation of law or duty alleged in the Action, and opposes

certification of a litigation class. Nonetheless, taking into account the uncertainty and risks

inherent in any litigation, Defendant has concluded it is desirable and beneficial that the Action

be fully and finally settled and terminated in the manner and upon the terms and conditions set

forth in this Agreement. This Agreement is a compromise, and the Agreement, any related

documents, and any negotiations resulting in it shall not be construed as or deemed to be

evidence of or an admission or concession of liability or wrongdoing on the part of Defendant, or




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any of the Released Parties (defined below), with respect to any claim of any fault or liability or

wrongdoing or damage whatsoever or with respect to the certifiability of a litigation class.

       R.      Plaintiff believes that the claims asserted in the Action against Defendant have

merit and that she would have prevailed at summary judgment and/or trial. Nonetheless,

Plaintiff and Class Counsel recognize that Defendant has raised factual and legal defenses that

present a risk that Plaintiff may not prevail. Plaintiff and Class Counsel also recognize the

expense and delay associated with continued prosecution of the Action against Defendant

through class certification, summary judgment, trial, and any subsequent appeals. Plaintiff and

Class Counsel also have taken into account the uncertain outcome and risks of litigation,

especially in complex class actions, as well as the difficulties inherent in such litigation.

Therefore, Plaintiff believes it is desirable that the Released Claims be fully and finally

compromised, settled, and resolved with prejudice. Based on its evaluation, Class Counsel has

concluded that the terms and conditions of this Agreement are fair, reasonable, and adequate to

the Settlement Class, and that it is in the best interests of the Settlement Class to settle the claims

raised in the Action pursuant to the terms and provisions of this Agreement.

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among

Plaintiff, the Settlement Class, and each of them, and Defendant, by and through its undersigned

counsel that, subject to final approval of the Court after a hearing or hearings as provided for in

this Settlement Agreement, in consideration of the benefits flowing to the Parties from the

Agreement set forth herein, that the Action and the Released Claims shall be finally and fully

compromised, settled, and released, and the Action shall be dismissed with prejudice, upon and

subject to the terms and conditions of this Agreement.




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                                     AGREEMENT

1.       DEFINITIONS.

         As used in this Settlement Agreement, the following terms have the meanings specified

below:

         1.1    “Action” means one or both of Boelter v. Hearst Communications, Inc., Case No.

1: 15-cv-03934-AT-JLC and/or Edwards v. Hearst Communications, Inc., Case No. 1:15-cv-

09279-AT-JLC, pending in the United States District Court for the Southern District of New

York.

         1.2    “Alternate Judgment” means a form of final judgment that may be entered by

the Court herein but in a form other than the form of Judgment provided for in this Agreement

and where none of the Parties elects to terminate this Settlement by reason of such variance.

         1.3    “Approved Claim” means a Claim Form submitted by a Settlement Class

Member that: (a) is submitted timely and in accordance with the directions on the Claim Form

and the provisions of the Settlement Agreement; (b) is fully and truthfully completed by a

Settlement Class Member with all of the information requested in the Claim Form; (c) is signed

by the Settlement Class Member, physically or electronically; and (d) is approved by the

Settlement Administrator pursuant to the provisions of this Agreement.

         1.4    “Claim Form” means the document substantially in the form attached hereto as

Exhibit A, as approved by the Court. The Claim Form, to be completed by Settlement Class

Members who wish to file a Claim for a payment, shall be available in electronic and paper

format in the manner described below.

         1.5    “Claims Deadline” means the date by which all Claim Forms must be

postmarked or received to be considered timely and shall be set as a date no later than forty-five




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(45) days after entry of the Final Approval Hearing. The Claims Deadline shall be clearly set

forth in the Preliminary Approval Order as well as in the Notice and the Claim Form.

       1.6        “Class Counsel” means Bursor & Fisher, P.A. and Carey Rodriguez Milian

Gonya, LLP.

       1.7        “Class Representative” means the named Plaintiff in this Action, Josephine

James Edwards.

       1.8        “Court” means the United States District Court for the Southern District of New

York, the Honorable Analisa Torres presiding, or any judge who shall succeed her as the Judge

in this Action.

       1.9        “Defendant” means Hearst Communications, Inc.

       1.10       “Defendant’s Counsel” means Jonathan R. Donnellan, Kristina E. Findikyan,

Stephen H. Yuhan, and Evan J. Saucier of The Hearst Corporation, Office of General Counsel,

and Benjamin E. Marks and Eric S. Hochstadt of Weil, Gotshal & Manges, LLP.

       1.11       “Effective Date” means the date ten (10) days after which all of the events and

conditions specified in Paragraph 9.1 have been met and have occurred.

       1.12       “Escrow Account” means the separate, interest-bearing escrow account to be

established by the Settlement Administrator under terms acceptable to all Parties at a depository

institution insured by the Federal Deposit Insurance Corporation. The Settlement Fund shall be

deposited by Defendant (or by Defendant’s insurers on behalf of Defendant) into the Escrow

Account in accordance with the terms of this Agreement and the money in the Escrow Account

shall be invested in the following types of accounts and/or instruments and no other: (i) demand

deposit accounts and/or (ii) time deposit accounts and certificates of deposit, in either case with

maturities of forty-five (45) days or less. The costs of establishing and maintaining the Escrow

Account shall be paid from the Settlement Fund.


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       1.13    “Fee Award” means the amount of attorneys’ fees, costs, and expenses awarded

by the Court to Class Counsel, which will be paid out of the Settlement Fund.

       1.14    “Final” means one business day following the latest of the following events: (i)

the date upon which the time expires for filing or noticing any appeal of the Court’s Final

Judgment approving the Settlement Agreement; (ii) if there is an appeal or appeals, other than an

appeal or appeals solely with respect to the Fee Award, the date of completion, in a manner that

finally affirms and leaves in place the Final Judgment without any material modification, of all

proceedings arising out of the appeal or appeals (including, but not limited to, the expiration of

all deadlines for motions for reconsideration or petitions for review and/or certiorari, all

proceedings ordered on remand, and all proceedings arising out of any subsequent appeal or

appeals following decisions on remand); or (iii) the date of final dismissal of any appeal or the

final dismissal of any proceeding on certiorari.

       1.15    “Final Approval Hearing” means the hearing before the Court where the Parties

will request the Final Judgment to be entered by the Court approving the Settlement Agreement,

the Fee Award, and the incentive award to the Class Representative.

       1.16    “Final Judgment” means the Final Judgment and Order to be entered by the

Court approving the Agreement after the Final Approval Hearing.

       1.17    “Hearst Publication” means a magazine or any other publication published by

Defendant, one of its subsidiaries, predecessors or companies acquired by Hearst, or any

publication acquired by Hearst, in the United States, including but not limited to any one of the

following magazines or publications: Country Living, Cosmopolitan, Elle Decor, Elle, Esquire,

Food Network Magazine, Good Housekeeping, Harper’s Bazaar, House Beautiful, Marie Claire,

O, The Oprah Magazine, Popular Mechanics, Redbook, Road & Track, Seventeen, Town &

Country, Veranda, and Woman’s Day.


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       1.18    “Michigan Subscriber Information” means the combination of each of a

Person’s name, address in the State of Michigan and the title(s) and/or information derived solely

from the title of a Hearst Publication.

       1.19    “Notice” means the notice of this proposed Class Action Settlement Agreement

and Final Approval Hearing, which is to be sent to the Settlement Class substantially in the

manner set forth in this Agreement, is consistent with the requirements of Due Process, Rule 23,

and is substantially in the form of Exhibits B, C, and D hereto.

       1.20    “Notice Date” means the date by which the Notice set forth in Paragraph 4.1 is

complete, which shall be no later than twenty-eight (28) days after Preliminary Approval.

       1.21    “Objection/Exclusion Deadline” means the date by which a written objection to

this Settlement Agreement or a request for exclusion submitted by a Person within the Settlement

Class must be made, which shall be designated as a date no later than forty-five (45) days after

the Notice Date and no sooner than fourteen (14) days after papers supporting the Fee Award are

filed with the Court and posted to the settlement website listed in Paragraph 4.1(d), or such other

date as ordered by the Court.

       1.22    “Person” shall mean, without limitation, any individual, corporation, partnership,

limited partnership, limited liability company, association, joint stock company, estate, legal

representative, trust, unincorporated association, and any business or legal entity and their

spouses, heirs, predecessors, successors, representatives, or assigns. “Person” is not intended to

include any governmental agencies or governmental actors, including, without limitation, any

state Attorney General office.

       1.23    “Plaintiffs” means Josephine James Edwards and the Settlement Class Members.




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       1.24    “Preliminary Approval” means the Court’s certification of the Settlement Class

for settlement purposes, preliminary approval of this Settlement Agreement, and approval of the

form and manner of the Notice.

       1.25    “Preliminary Approval Order” means the order preliminarily approving the

Settlement Agreement, certifying the Settlement Class for settlement purposes, and directing

notice thereof to the Settlement Class, which will be agreed upon by the Parties and submitted to

the Court in conjunction with Plaintiffs’ motion for preliminary approval of the Agreement.

       1.26    “Released Claims” means any and all actual, potential, filed, known or unknown,

fixed or contingent, claimed or unclaimed, suspected or unsuspected, claims, demands,

liabilities, rights, causes of action, contracts or agreements, extra contractual claims, damages,

punitive, exemplary or multiplied damages, expenses, costs, attorneys’ fees and or obligations

(including “Unknown Claims,” as defined below), whether in law or in equity, accrued or un-

accrued, direct, individual or representative, of every nature and description whatsoever, whether

based on the VRPA or other state, federal, local, statutory or common law or any other law, rule

or regulation, against the Released Parties, or any of them, arising out of any facts, transactions,

events, matters, occurrences, acts, disclosures, statements, representations, omissions or failures

to act regarding the alleged disclosure of the Settlement Class Members’ Michigan Subscriber

Information, including but not limited to all claims that were brought or could have been brought

in the Action relating to any and all Releasing Parties.

       1.27    “Released Parties” means Hearst Communications, Inc., as well as any and all of

its respective present or past heirs, executors, estates, administrators, predecessors, successors,

assigns, parent companies, subsidiaries, licensors, licensees, associates, affiliates, employers,

agents, consultants, independent contractors, insurers (collectively “Affiliates”), including

without limitation, for each Affiliate, its employees directors, managing directors, officers,


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trustees, partners, principals, members, attorneys, accountants, financial and other advisors,

underwriters, shareholders, lenders, auditors, investment advisors, legal representatives,

successors in interest, assigns and companies, firms, trusts, and corporations.

        1.28   “Releasing Parties” means Plaintiffs, those Settlement Class Members who do

not timely opt out of the Settlement Class, and all of their respective present or past heirs,

executors, estates, administrators, predecessors, successors, assigns, parent companies,

subsidiaries, associates, affiliates, employers, employees, agents, consultants, independent

contractors, insurers, directors, managing directors, officers, partners, principals, members,

attorneys, accountants, financial and other advisors, underwriters, shareholders, lenders, auditors,

investment advisors, legal representatives, successors in interest, assigns and companies, firms,

trusts, and corporations.

        1.29   “Settlement Administration Expenses” means the expenses incurred by the

Settlement Administrator in providing Notice (including CAFA notice), processing claims,

responding to inquiries from members of the Settlement Class, mailing checks for Approved

Claims, and related services, paying taxes and tax expenses related to the Settlement Fund

(including all federal, state or local taxes of any kind and interest or penalties thereon, as well as

expenses incurred in connection with determining the amount of and paying any taxes owed and

expenses related to any tax attorneys and accountants), as well as all expenses related to the

resolution of any disputed claims by Jay Cohen, Esq. (as described below in paragraph 5.3), and

all expenses, excluding the fees and expenses of Class Counsel and Defendant’s Counsel, related

to any work required by the Court to confirm that Notice is consistent with Due Process and Rule

23.

        1.30   “Settlement Administrator” means JND Legal Administration, or such other

reputable administration company that has been selected jointly by the Parties and approved by


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the Court to perform the duties set forth in this Agreement, including but not limited to serving

as Escrow Agent for the Settlement Fund, overseeing the distribution of Notice, as well as the

processing and payment of Approved Claims to the Settlement Class as set forth in this

Agreement, handing all approved payments out of the Settlement Fund, and handling the

determination, payment and filing of forms related to all federal, state and/or local taxes of any

kind (including any interest or penalties thereon) that may be owed on any income earned by the

Settlement Fund. Class Counsel’s assent to this Agreement shall constitute consent on behalf of

each and every member of the Settlement Class as defined herein to disclose all information

required by the Settlement Administrator to perform the duties and functions ascribed to it

herein, consistent with the written consent provisions of the VRPA.

       1.31    “Settlement Class” means all Persons with a Michigan street address at any time

on or before July 30, 2016 who purchased and/or had a subscription to a Hearst Publication on or

before July 30, 2016. Excluded from the Settlement Class are (1) any Judge or Magistrate

presiding over this Action and members of their families; (2) the Defendant, Defendant’s

subsidiaries, parent companies, successors, predecessors, and any entity in which the Defendant

or its parents have a controlling interest and their current or former officers, directors, agents,

attorneys, and employees; (3) persons who properly execute and file a timely request for

exclusion from the class; and (4) the legal representatives, successors or assigns of any such

excluded persons.

       1.32    “Settlement Class Member” means a Person who falls within the definition of

the Settlement Class as set forth above and who has not submitted a valid request for exclusion.

       1.33    “Settlement Fund” means the non-reversionary cash fund that shall be

established by or on behalf of Defendant in the total amount of fifty million dollars

($50,000,000.00 USD) to be deposited into the Escrow Account, according to the schedule set


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forth herein, plus all interest earned thereon. From the Settlement Fund, the Settlement

Administrator shall pay all Approved Claims made by Settlement Class Members, Settlement

Administration Expenses, any incentive award to the Class Representative, any Fee Award to

Class Counsel, and any other costs, fees, or expenses approved by the Court. The Settlement

Fund shall be kept in the Escrow Account with permissions granted to the Settlement

Administrator to access said funds until such time as the listed payments are made. The

Settlement Fund includes all interest that shall accrue on the sums deposited in the Escrow

Account. The Settlement Administrator shall be responsible for all tax filings with respect to any

earnings on the Settlement Fund and the payment of all taxes that may be due on such earnings.

The Settlement Fund represents the total extent of Defendant’s (inclusive of Defendant’s

insurers’) monetary obligations under this Agreement. The payment of the Settlement Amount

by, or on behalf of, Defendant and/or its insurers fully discharges the Defendant and the other

Released Parties’ financial obligations (if any) in connection with the Settlement, meaning that

no Released Party shall have any other obligation to make any payment into the Escrow Account

or to any Class Member, or any other Person, under this Agreement. In no event shall the total

monetary obligation with respect to this Agreement on behalf of Defendant exceed fifty million

dollars ($50,000,000.00).

       1.34    “Unknown Claims” means claims that could have been raised in the Action and

that any or all of the Releasing Parties do not know or suspect to exist, which, if known by him

or her, might affect his or her agreement to release the Released Parties or the Released Claims

or might affect his or her decision to agree, object or not to object to the Settlement. Upon the

Effective Date, the Releasing Parties shall be deemed to have, and shall have, expressly waived

and relinquished, to the fullest extent permitted by law, the provisions, rights and benefits of

§ 1542 of the California Civil Code, which provides as follows:


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       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
       CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
       FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF
       KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS
       OR HER SETTLEMENT WITH THE DEBTOR.

Upon the Effective Date, the Releasing Parties also shall be deemed to have, and shall have,

waived any and all provisions, rights and benefits conferred by any law of any state or territory

of the United States, or principle of common law, or the law of any jurisdiction outside of the

United States, which is similar, comparable or equivalent to § 1542 of the California Civil Code.

The Releasing Parties acknowledge that they may discover facts in addition to or different from

those that they now know or believe to be true with respect to the subject matter of this release,

but that it is their intention to finally and forever settle and release the Released Claims,

notwithstanding any Unknown Claims they may have, as that term is defined in this Paragraph.

2.     SETTLEMENT RELIEF.

       2.1     Payments to Settlement Class Members.

               (a)     Defendant shall pay or cause to be paid into the Escrow Account the

amount of the Settlement Fund ($50,000,000.00), specified in Section 1.33 of this Agreement,

within twenty-eight (28) business days after entry of the Preliminary Approval Order.

               (b)     Settlement Class Members shall have until the Claims Deadline to submit

an Approved Claim. Each Settlement Class Member with an Approved Claim shall be entitled to

a pro rata portion of the Settlement Fund, calculated by the Settlement Administrator, by check

after deducting all Settlement Administration Expenses, any Fee Award to Class Counsel, the

Incentive Award to Plaintiff, and any other costs, fees or expenses approved by the Court. The

intention of the parties is that the recovery for any individual class member will not exceed the

amount allowed by law.




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               (c)     The Settlement Administrator shall pay from the Settlement Fund all

Approved Claims by check with said checks being sent via first class U.S. mail to the Settlement

Class Members who submitted all such Approved Claims. Payments to all Settlement Class

Members with Approved Claims shall be made within twenty-eight (28) days after Final

Judgment.

               (d)     All cash payments issued to Settlement Class Members via check will

state on the face of the check that it will expire and become null and void unless cashed within

one hundred eighty (180) days after the date of issuance. To the extent that a check issued to a

Settlement Class Member is not cashed within one hundred eighty (180) days after the date of

issuance, such funds shall, subject to Court approval, revert to the Michigan Bar Foundation’s

Access to Justice Fund, a non-sectarian, not-for-profit organization. In no event shall any

undistributed funds be paid back to Defendant.

3.     RELEASE.

       3.1     The obligations incurred pursuant to this Settlement Agreement shall be a full and

final disposition of the Action and any and all Released Claims, as against all Released Parties.

       3.2     Upon the Effective Date, the Releasing Parties, and each of them, shall be deemed

to have, and by operation of the Final Judgment shall have, fully, finally, and forever released,

relinquished, and discharged all Released Claims against the Released Parties, and each of them.

4.     NOTICE TO THE CLASS.

       4.1     The Notice Plan shall consist of the following:

               (a)      Settlement Class List. No later than twenty-eight (28) days after the

 execution of this Agreement, Defendant shall, to the best of its ability, produce an electronic list

 or lists from its available records that includes the names, last known U.S. Mail addresses, and

 email addresses, to the extent available, belonging to Persons within the Settlement Class.


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Class Counsel’s assent to this Agreement shall constitute consent on behalf of each and every

member of the Settlement Class as defined herein to disclose this information as stated in this

paragraph, consistent with the written consent provisions of the VRPA. These electronic

documents shall be provided to the Settlement Administrator with a copy to Class

Counsel, and once de-duplicated by the Settlement Administrator, shall be called, together, the

“Class List.” The Settlement Administrator shall provide a copy of the Class List to Class

Counsel and Defendant’s Counsel.

              (b)    Direct Notice via Email. No later than twenty-one (21) days from entry of

the Preliminary Approval Order, the Settlement Administrator shall send Notice via email

substantially in the form attached as Exhibit B, along with an electronic link to the Claim Form,

to all Settlement Class Members for whom a valid email address is in the Class List. In the

event transmission of email notice results in any “bounce-backs,” the Settlement Administrator

shall, if possible, correct any issues that may have caused the “bounce-back” to occur and make

a second attempt to re-send the email notice.

              (c)    Direct Notice via U.S. Mail. No later than the twenty-eight (28) days from

entry of the Preliminary Approval Order, the Settlement Administrator shall send Notice

substantially in the form attached as Exhibit C and a postcard Claim Form with return postage

prepaid via First Class U.S. Mail to all Settlement Class Members who did not receive an email

pursuant to Paragraph 4.1(b), above.

              (d)    Settlement Website. Within ten (10) days from entry of the Preliminary

Approval Order, Notice shall be provided on a website at an available settlement URL (such as,

for example, www.hearstsettlement.com) which shall be obtained, administered and maintained

by the Settlement Administrator and shall include the ability to file Claim Forms on-line,

provided that such Claim Forms, if signed electronically, will be binding for purposes of


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applicable law and contain a statement to that effect. The Notice provided on the Settlement

Website shall be substantially in the form of Exhibit D hereto.

               (e)     Hearst Statement. The documents referenced in 4.1(b), (c) and (d) shall

contain the following statement from Hearst in a format/typeface designed to give it prominence

within each said document: While Hearst believes that its practices were in compliance with

Michigan law, Hearst chose to settle this case, without admitting liability, to focus time, effort

and resources on continuing to provide valued content to its readers, as the organization has

since its founding, and not on additional legal fees and the uncertainty of litigation.

               (f)     CAFA Notice. Pursuant to 28 U.S.C. § 1715, not later than ten (10) days

after the Agreement is filed with the Court, the Settlement Administrator shall cause to be

served upon the Attorneys General of each U.S. State in which Settlement Class members

reside, the Attorney General of the United States, and other required government officials,

notice of the proposed settlement as required by law, subject to Paragraph 5.1 below.

       4.2     The Notice shall advise the Settlement Class of their rights, including the right to

be excluded from, comment upon, and/or object to the Settlement Agreement or any of its terms.

The Notice shall specify that any objection to the Settlement Agreement, and any papers

submitted in support of said objection, shall be considered by the Court at the Final Approval

Hearing only if, on or before the Objection/Exclusion Deadline approved by the Court and

specified in the Notice, the Person making the objection files notice of an intention to do so and

at the same time (a) files copies of such papers he or she proposes to be submitted at the Final

Approval Hearing with the Clerk of the Court, or alternatively, if the objection is from a Class

Member represented by counsel, files any objection through the Court’s CM/ECF system, and

(b) sends copies of such papers by mail, hand, or overnight delivery service to Class Counsel and

Defendant’s Counsel.


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       4.3      Any Settlement Class Member who intends to object to this Agreement must

present on a timely basis the objection in writing, which must be personally signed by the

objector, and must include: (1) the objector’s name and address; (2) an explanation of the basis

upon which the objector claims to be a Settlement Class Member, including the Hearst

Publication(s) which he or she purchased and/or is or was a subscriber; (3) all grounds for the

objection, including all citations to legal authority and evidence supporting the objection; (4) the

name and contact information of any and all attorneys representing, advising, or in any way

assisting the objector in connection with the preparation or submission of the objection or who

may profit from the pursuit of the objection (the “Objecting Attorneys”); and (5) a statement

indicating whether the objector intends to appear at the Final Approval Hearing (either

personally or through counsel who files an appearance with the Court in accordance with the

Local Rules).

       4.4      If a Settlement Class Member or any of the Objecting Attorneys has objected to

any class action settlement where the objector or the Objecting Attorneys asked for or received

any payment in exchange for dismissal of the objection, or any related appeal, without any

modification to the settlement, then the objection must include a statement identifying each such

case by full case caption and amount of payment received.

       4.5      A Settlement Class Member may request to be excluded from the Settlement

Class by sending a timely written request postmarked on or before the Objection/Exclusion

Deadline approved by the Court and specified in the Notice. To exercise the right to be

excluded, a Person in the Settlement Class must timely send a written request for exclusion to the

Settlement Administrator providing his/her name and address, the name of the Hearst

Publication(s) which he or she purchased and/or is or was a subscriber, a signature, the name and

number of the case, and a statement that he or she wishes to be excluded from the Settlement


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Class for purposes of this Settlement. A request to be excluded that does not include all of this

information, or that is sent to an address other than that designated in the Notice, or that is not

postmarked within the time specified, shall be invalid, and the Person(s) serving such a request

shall be a member(s) of the Settlement Class and shall be bound as a Settlement Class Member

by this Agreement, if approved. Any member of the Settlement Class who validly elects to be

excluded from this Agreement shall not: (i) be bound by any orders or the Final Judgment; (ii)

be entitled to relief under this Settlement Agreement; (iii) gain any rights by virtue of this

Agreement; or (iv) be entitled to object to any aspect of this Agreement. The request for

exclusion must be personally signed by each Person requesting exclusion. So-called “mass” or

“class” opt-outs shall not be allowed. To be valid, a request for exclusion must be postmarked or

received by the date specified in the Notice.

       4.6     The Final Approval Hearing shall be no earlier than ninety (90) days after the

Notice described in Paragraph 4.1(e) is provided.

       4.7     Any Settlement Class Member who does not, in accordance with the terms and

conditions of this Agreement, seek exclusion from the Settlement Class or timely file a valid

Claim Form shall not be entitled to receive any payment or benefits pursuant to this Agreement,

but will otherwise be bound by all of the terms of this Agreement, including the terms of the

Final Judgment to be entered in the Action and the Releases provided for in the Agreement, and

will be barred from bringing any action against any of the Released Parties concerning the

Released Claims.

5.     SETTLEMENT ADMINISTRATION.

       5.1     The Settlement Administrator shall, under the supervision of the Court, administer

the relief provided by this Settlement Agreement by processing Claim Forms in a rational,

responsive, cost effective, and timely manner. The Settlement Administrator shall maintain


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reasonably detailed records of its activities under this Agreement. The Settlement Administrator

shall maintain all such records as are required by applicable law in accordance with its normal

business practices and such records will be made available to Class Counsel and Defendant’s

Counsel upon request. The Settlement Administrator shall also provide reports and other

information to the Court as the Court may require. The Settlement Administrator shall provide

Class Counsel and Defendant’s Counsel with regular reports at weekly intervals containing

information concerning Notice, administration, and implementation of the Settlement

Agreement. Should the Court request, the Parties shall submit a timely report to the Court

summarizing the work performed by the Settlement Administrator, including a report of all

amounts from the Settlement Fund paid to Settlement Class Members on account of Approved

Claims. Without limiting the foregoing, the Settlement Administrator shall:

               (a)    Forward to Defendant’s Counsel, with copies to Class Counsel, all original

documents and other materials received in connection with the administration of the Settlement,

and all copies thereof, within thirty (30) days after the date on which all Claim Forms have been

finally approved or disallowed in accordance with the terms of this Agreement;

               (b)    Provide Class Counsel and Defendant’s Counsel with drafts of all

administration related documents, including but not limited to CAFA Notices, follow-up class

notices or communications with Settlement Class Members, telephone scripts, website postings

or language or other communications with the Settlement Class, at least five (5) days before the

Settlement Administrator is required to or intends to publish or use such communications, unless

Class Counsel and Defendant’s Counsel agree to waive this requirement in writing on case by

case basis;

               (c)    Receive requests to be excluded from the Settlement Class and other

requests and promptly provide to Class Counsel and Defendant’s Counsel copies thereof. If the


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Settlement Administrator receives any exclusion forms or other requests after the deadline for

the submission of such forms and requests, the Settlement Administrator shall promptly provide

copies thereof to Class Counsel and Defendant’s Counsel;

               (d)    Provide weekly reports to Class Counsel and Defendant’s Counsel,

including without limitation, reports regarding the number of Claim Forms received, the number

approved by the Settlement Administrator, and the categorization and description of Claim

Forms rejected, in whole or in part, by the Settlement Administrator; and

              (e)     Make available for inspection by Class Counsel or Defendant’s Counsel

the Claim Forms received by the Settlement Administrator at any time upon reasonable notice.

       5.2     The Settlement Administrator shall be obliged to employ reasonable procedures to

screen claims for abuse or fraud and deny Claim Forms where there is evidence of abuse or

fraud. The Settlement Administrator shall determine whether a Claim Form submitted by a

Settlement Class Member is an Approved Claim by determining if the Person is on the Class List

or has attested on the Claim Form to Michigan residence and a Hearst publication purchase

and/or subscription associated with that identity and a Michigan address on or before July 30,

2016 and shall reject Claim Forms that fail to (a) comply with the instructions on the Claim

Form or the terms of this Agreement (including attestation as to inclusion in the Settlement

Class), or (b) provide full and complete information as requested on the Claim Form. In the

event a Person submits a timely Claim Form by the Claims Deadline where the Person appears

on the Class List but the Claim Form is not otherwise complete, then the Settlement

Administrator shall give such Person one (1) reasonable opportunity to provide any requested

missing information, which information must be received by the Settlement Administrator no

later than thirty (30) calendar days after the Claims Deadline. In the event the Settlement

Administrator receives such information more than thirty (30) days after the Claims Deadline,


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then any such claim shall be denied. The Settlement Administrator may contact any Person who

has submitted a Claim Form to obtain additional information necessary to verify the Claim Form,

which information must be received by the Settlement Administrator no later than thirty (30)

calendar days after the Claims Deadline. In the event the Settlement Administrator receives such

information more than thirty (30) days after the Claims Deadline, then any such claim shall be

denied.

          5.3    Defendant’s Counsel and Class Counsel shall have the right to challenge the

acceptance or rejection of a Claim Form submitted by Settlement Class Members. The

Settlement Administrator shall follow any agreed decisions of Class Counsel and Defendant’s

Counsel as to the validity of any disputed submitted Claim Form. To the extent Class Counsel

and Defendant’s Counsel are not able to agree on the disposition of a challenge, the disputed

claim shall be submitted to Jay Cohen, Esq. for binding determination. Mr. Cohen will charge

his regular hourly rate for providing such services to the Settlement Class, and all expenses

related thereto will be paid by the Settlement Administrator from the Settlement Fund.

          5.4    In the exercise of its duties outlined in this Agreement, the Settlement

Administrator shall have the right to reasonably request additional information from the Parties

or any Settlement Class Member.

          5.5.   Defendant, the Released Parties, and Defendant’s Counsel shall have no

responsibility for, interest in, or liability whatsoever with respect to: (i) any act, omission, or

determination by Class Counsel, or the Settlement Administrator, or any of their respective

designees or agents, in connection with the administration of the Settlement or otherwise; (ii) the

management, investment, or distribution of the Settlement Fund; (iii) the allocation of Settlement

Funds to Settlement Class Members or the implementation, administration, or interpretation

thereof; (iv) the determination, administration, calculation, or payment of any claims asserted


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against the Settlement Fund; (v) any losses suffered by, or fluctuations in value of, the

Settlement Fund; or (vi) the payment or withholding of any Taxes, Tax Expenses, or costs

incurred in connection with the taxation of the Settlement Fund or the filing of any federal, state,

or local returns.

        5.7.    All taxes and tax expenses shall be paid out of the Settlement Fund, and shall be

timely paid by the Settlement Administrator pursuant to this Agreement and without further

order of the Court. Any tax returns prepared for the Settlement Fund (as well as the election set

forth therein) shall be consistent with this Agreement and in all events shall reflect that all taxes

on the income earned by the Settlement Fund shall be paid out of the Settlement Fund as

provided herein. The Released Parties shall have no responsibility or liability for the acts or

omissions of the Settlement Administrator or its agents with respect to the payment of taxes or

tax expenses.

6.      TERMINATION OF SETTLEMENT.

        6.1     Subject to Paragraphs 9.1-9.3 below, Defendant or the Class Representative on

behalf of the Settlement Class, shall have the right to terminate this Agreement by providing

written notice of the election to do so (“Termination Notice”) to all other Parties hereto within

twenty-one (21) days of any of the following events: (i) the Court’s refusal to grant Preliminary

Approval of this Agreement in any material respect; (ii) the Court’s refusal to grant final

approval of this Agreement in any material respect; (iii) the Court’s refusal to enter the Final

Judgment in this Action in any material respect; (iv) the date upon which the Final Judgment is

modified or reversed in any material respect by the Court of Appeals or the Supreme Court; or

(v) the date upon which an Alternate Judgment, as defined in Paragraph 9.1(d) of this Agreement

is modified or reversed in any material respect by the Court of Appeals or the Supreme Court.




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       6.2       If prior to the Final Approval Hearing Persons who otherwise would be members

of the Settlement Class have timely requested exclusion from the Settlement Class in accordance

with the provisions of the Notice Order and the notice given pursuant thereto, and such Persons

in the aggregate constitute 5,000 or more in number, Defendant shall have, in its sole and

absolute discretion, the option to terminate this settlement by giving notice as set forth in

paragraph 6.1.

7.     PRELIMINARY APPROVAL ORDER AND FINAL APPROVAL ORDER.

       7.1       Promptly after the execution of this Settlement Agreement, Class Counsel shall

submit this Agreement together with its Exhibits to the Court and shall move the Court for

Preliminary Approval of the settlement set forth in this Agreement; certification of the

Settlement Class for settlement purposes only; appointment of Class Counsel and the Class

Representative; and entry of a Preliminary Approval Order, which order shall set a Final

Approval Hearing date and approve the Notice and Claim Forms for dissemination substantially

in the form of Exhibits A, B, C, and D hereto. The Preliminary Approval Order shall also

authorize the Parties, without further approval from the Court, to agree to and adopt such

amendments, modifications and expansions of the Settlement Agreement and its implementing

documents (including all exhibits to this Agreement) so long as they are consistent in all material

respects with the terms of the Settlement Agreement and do not limit or impair the rights of the

Settlement Class or materially expand the obligations of Defendant.

       7.2       At the time of the submission of this Agreement to the Court as described above,

Class Counsel shall request that, after Notice is given, the Court hold a Final Approval Hearing

and approve the settlement of the Action as set forth herein.

       7.3       After Notice is given, the Parties shall request and seek to obtain from the Court a

Final Judgment, which will:


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                (a)     find that the Court has personal jurisdiction over all Settlement Class

Members and that the Court has subject matter jurisdiction to approve the Agreement, including

all exhibits thereto;

                (b)     approve the Settlement Agreement and the proposed settlement as fair,

reasonable, and adequate as to, and in the best interests of, the Settlement Class Members; direct

the Parties and their counsel to implement and consummate the Agreement according to its terms

and provisions; and declare the Agreement to be binding on, and have res judicata and

preclusive effect in all pending and future lawsuits or other proceedings maintained by or on

behalf of Plaintiffs and Releasing Parties;

                (c)     find that the Notice implemented pursuant to the Agreement

(1) constitutes the best practicable notice under the circumstances; (2) constitutes notice that is

reasonably calculated, under the circumstances, to apprise the Settlement Class of the pendency

of the Action, their right to object to or exclude themselves from the proposed Agreement, and to

appear at the Final Approval Hearing; (3) is reasonable and constitutes due, adequate, and

sufficient notice to all persons entitled to receive notice; and (4) meets all applicable

requirements of the Federal Rules of Civil Procedure, the Due Process Clause of the United

States Constitution, and the rules of the Court;

                (d)     find that the Class Representative and Class Counsel adequately represent

the Settlement Class for purposes of entering into and implementing the Agreement;

                (e)     dismiss the Action (including all individual claims and Settlement Class

Claims presented thereby) on the merits and with prejudice, without fees or costs to any party

except as provided in the Settlement Agreement;

                (f)     incorporate the Release set forth above, make the Release effective as of

the date of the Effective Date, and forever discharge the Released Parties as set forth herein;


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               (g)     permanently bar and enjoin all Settlement Class Members who have not

been properly excluded from the Settlement Class from filing, commencing, prosecuting,

intervening in, or participating (as class members or otherwise) in, any lawsuit or other action in

any jurisdiction based on the Released Claims;

               (h)     without affecting the finality of the Final Judgment for purposes of appeal,

retain jurisdiction as to all matters relating to administration, consummation, enforcement, and

interpretation of the Settlement Agreement and the Final Judgment, and for any other necessary

purpose; and

               (i)     incorporate any other provisions as necessary or appropriate to effectuate

the terms and conditions of the Settlement Agreement.

8.     CLASS COUNSEL’S ATTORNEYS’ FEES, COSTS, AND EXPENSES;
       INCENTIVE AWARD.

       8.1     Defendant agrees that Class Counsel may receive from the Settlement Fund,

subject to Court approval, attorneys’ fees not to exceed one-third of the Settlement Fund (or

sixteen million six hundred sixty-six thousand six hundred sixty-six dollars and sixty-six cents

($16,666,666.66)), plus reimbursement of Court-approved costs and expenses associated with the

Action. Class Counsel will petition the Court for an award of such attorneys’ fees, costs, and

expenses, and Defendant agrees to not object to or otherwise challenge, directly or indirectly,

Class Counsel’s petition. Payment of the Fee Award shall be made from the Settlement Fund

and should the Court award less than the amount sought by Class Counsel, the difference in the

amount sought and the amount ultimately awarded pursuant to this Paragraph shall remain in the

Settlement Fund.

       8.2     The Fee Award shall be payable by the Settlement Administrator within ten (10)

days after entry of the Court’s Final Judgment, subject to Class Counsel executing the

Undertaking Regarding Attorneys’ Fees and Costs (the “Undertaking”) attached hereto as

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Exhibit E, and providing all payment routing information and tax I.D. numbers for Class

Counsel. Payment of the Fee Award shall be made from the Settlement Fund by wire transfer

pursuant to joint instructions provided by Bursor & Fisher, P.A., and Carey Rodriguez Milian

Gonya, LLP, and completion of necessary forms, including but not limited to W-9 forms. The

Settlement Administrator shall wire the funds within 1 business day of receiving the joint

instructions. Notwithstanding the foregoing, if for any reason the Final Judgment is reversed or

rendered void as a result of an appeal(s) then Bursor & Fisher, P.A., and Carey Rodriguez Milian

Gonya, LLP shall each be severally liable for payments made pursuant to this subparagraph, and

shall return such funds to Defendant or Defendant’s insurers. To effectuate this provision,

Bursor & Fisher, P.A., and Carey Rodriguez Milian Gonya, LLP shall each execute a guarantee

of repayment in the form attached hereto as Exhibit E. Additionally, should any parties to the

Undertaking dissolve, merge, declare bankruptcy, become insolvent, or cease to exist prior to the

final payment to Class Members, those parties shall execute a new undertaking guaranteeing

repayment of funds within 14 days of such an occurrence.

       8.3     Defendant agrees that, subject to Court approval, the Settlement Administrator

may pay an incentive award to the Class Representative from the Settlement Fund, in addition to

any settlement payment as a result of an Approved Claim pursuant to this Agreement, and in

recognition of her efforts on behalf of the Settlement Class, in the amount of ten thousand dollars

($10,000.00). Defendant shall not object to or otherwise challenge, directly or indirectly, Class

Counsel’s application for the incentive award to the Class Representative if limited to this

amount. Class Counsel, in turn, agrees to seek no more than this amount from the Court as the

incentive award for the Class Representative. Should the Court award less than this amount, the

difference in the amount sought and the amount ultimately awarded pursuant to this Paragraph

shall remain in the Settlement Fund. Such award shall be paid from the Settlement Fund (in the


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form of a check to the Class Representative that is sent care of Class Counsel), within five (5)

business days after entry of the Final Judgment if there have been no objections to the Settlement

Agreement, and, if there have been such objections, within five (5) business days after the

Effective Date.

9.     CONDITIONS OF SETTLEMENT, EFFECT OF DISAPPROVAL,
       CANCELLATION OR TERMINATION.

       9.1     The Effective Date of this Settlement Agreement shall not occur unless and until

each of the following events occurs and shall be the date upon which the last (in time) of the

following events occurs:

               (a)      The Parties and their counsel have executed this Agreement;

               (b)     The Court has entered the Preliminary Approval Order;

               (c)     The Court has entered an order finally approving the Agreement,

following Notice to the Settlement Class and a Final Approval Hearing, as provided in the

Federal Rules of Civil Procedure, and has entered the Final Judgment, or a judgment consistent

with this Agreement in all material respects; and

               (d)     The Final Judgment has become Final, as defined above, or, in the event

that the Court enters an Alternate Judgment, such Alternate Judgment becomes Final.

       9.2     If some or all of the conditions specified in Paragraph 9.1 are not met, or in the

event that this Agreement is not approved by the Court, or the settlement set forth in this

Agreement is terminated or fails to become effective in accordance with its terms, then this

Settlement Agreement shall be canceled and terminated subject to Paragraph 6.1 unless Class

Counsel and Defendant’s Counsel mutually agree in writing to proceed with this Agreement. If

any Party is in material breach of the terms hereof, any other Party, provided that it is in

substantial compliance with the terms of this Agreement, may terminate this Agreement on

notice to all of the Settling Parties. Notwithstanding anything herein, the Parties agree that the

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Court’s failure to approve, in whole or in part, the attorneys’ fees payment to Class Counsel

and/or the incentive award set forth in Paragraph 8 above shall not prevent the Agreement from

becoming effective, nor shall it be grounds for termination.

       9.3     If this Agreement is terminated or fails to become effective for the reasons set

forth in Paragraphs 6.1, 6.2 and 9.1-9.2 above, the Parties shall be restored to their respective

positions in the Action as of the date of the signing of this Agreement unless Class Counsel and

Defendant’s Counsel mutually agree in writing to proceed with this Agreement. In such event,

any Final Judgment or other order entered by the Court in accordance with the terms of this

Agreement shall be treated as vacated, nunc pro tunc, and the Parties shall be returned to the

status quo ante with respect to the Action as if this Agreement had never been entered into.

Within five (5) business days after written notification of termination as provided in this

Agreement is sent to the other Parties, the Settlement Fund (including accrued interest thereon),

less any Settlement Administration costs actually incurred, paid or payable and less any taxes

and tax expenses paid, due or owing, shall be refunded by the Settlement Administrator to

Defendant or Defendant’s insurers, based upon written instructions provided by Defendant’s

Counsel. In the event that the Final Settlement Order and Judgment or any part of it is vacated,

overturned, reversed, or rendered void as a result of an appeal, or the Settlement Agreement is

voided, rescinded, or otherwise terminated for any other reason, Class Counsel shall, within

thirty (30) days repay to Defendant or Defendant’s insurers, based upon written instructions

provided by Defendant’s Counsel, the full amount of the attorneys’ fees and costs paid to Class

Counsel from the Settlement Fund, including any accrued interest. In the event the attorney fees

and costs awarded by the Court or any part of them are vacated, modified, reversed, or rendered

void as a result of an appeal, Class Counsel shall within thirty (30) days repay to Defendant or

Defendant’s insurers, based upon written instructions provided by Defendant’s Counsel, the


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attorneys’ fees and costs paid to Class Counsel and/or Representative Plaintiff from the

Settlement Fund, in the amount vacated or modified, including any accrued interest.

10.     MISCELLANEOUS PROVISIONS.

        10.1   The Parties (a) acknowledge that it is their intent to consummate this Settlement

Agreement; and (b) agree, subject to their fiduciary and other legal obligations, to cooperate to

the extent reasonably necessary to effectuate and implement all terms and conditions of this

Agreement, to exercise their reasonable best efforts to accomplish the foregoing terms and

conditions of this Agreement, to secure final approval, and to defend the Final Judgment through

any and all appeals. Class Counsel and Defendant’s Counsel agree to cooperate with one another

in seeking Court approval of the Settlement Agreement, entry of the Preliminary Approval

Order, and the Final Judgment, and promptly to agree upon and execute all such other

documentation as may be reasonably required to obtain final approval of the Agreement.

        10.2   The Parties intend this Settlement Agreement to be a final and complete

resolution of all disputes between them with respect to the Released Claims by Plaintiff, the

Settlement Class and each or any of them, on the one hand, against the Released Parties, and

each or any of the Released Parties, on the other hand. Accordingly, the Parties agree not to

assert in any forum that the Action was brought by Plaintiffs or defended by Defendant, or each

or any of them, in bad faith or without a reasonable basis. Nothing herein, however, shall be

construed to prevent any employee of Defendant or any Released Party, or any independent

contractor working in a reporting or newsgathering capacity for Defendant or any Released

Party, from reporting on the Action or this Settlement.

        10.3   The Parties have relied upon the advice and representation of counsel, selected by

them, concerning their respective legal liability for the claims hereby released. The Parties have

read and understand fully the above and foregoing agreement and have been fully advised as to


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the legal effect thereof by counsel of their own selection and intend to be legally bound by the

same.

        10.4    Whether or not the Effective Date occurs or the Settlement Agreement is

terminated, neither this Agreement nor the settlement contained herein or any term, provision or

definition therein, nor any act or communication performed or document executed in the course

of negotiating, implementing or seeking approval pursuant to or in furtherance of this Agreement

or the settlement:

                (a)        is, may be deemed, or shall be used, offered or received in any civil,

criminal or administrative proceeding in any court, administrative agency, arbitral proceeding or

other tribunal against the Released Parties, or each or any of them, as an admission, concession

or evidence of, the validity of any Released Claims, the truth of any fact alleged by the Plaintiffs,

the deficiency of any defense that has been or could have been asserted in the Action, the

violation of any law or statute, the definition or scope of any term or provision, the

reasonableness of the settlement amount or the Fee Award, or of any alleged wrongdoing,

liability, negligence, or fault of the Released Parties, or any of them;

                (b)     is, may be deemed, or shall be used, offered or received against any

Released Party, as an admission, concession or evidence of any fault, misrepresentation or

omission with respect to any statement or written document approved or made by the Released

Parties, or any of them;

                (c)     is, may be deemed, or shall be used, offered or received against the

Released Parties, or each or any of them, as an admission or concession with respect to any

liability, negligence, fault or wrongdoing or statutory meaning (including but not limited to the

definitions of Michigan Subscriber Information and Settlement Class) as against any Released

Parties, or supporting the certification of a litigation class, in any civil, criminal or administrative


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proceeding in any court, administrative agency or other tribunal. However, the settlement, this

Agreement, and any acts performed and/or documents executed in furtherance of or pursuant to

this Agreement and/or Settlement may be used in any proceedings as may be necessary to

effectuate the provisions of this Agreement. Further, if this Settlement Agreement is approved

by the Court, any Party or any of the Released Parties may file this Agreement and/or the Final

Judgment in any action that may be brought against such Party or Parties in order to support a

defense or counterclaim based on principles of res judicata, collateral estoppel, release, good

faith settlement, judgment bar or reduction, or any other theory of claim preclusion or issue

preclusion or similar defense or counterclaim;

               (d)     is, may be deemed, or shall be construed against Plaintiff, the Settlement

Class, the Releasing Parties, or each or any of them, or against the Released Parties, or each or

any of them, as an admission or concession that the consideration to be given hereunder

represents an amount equal to, less than or greater than that amount that could have or would

have been recovered after trial; and

               (e)     is, may be deemed, or shall be construed as or received in evidence as an

admission or concession against Plaintiff, the Settlement Class, the Releasing Parties, or each

and any of them, or against the Released Parties, or each or any of them, that any of Plaintiff’s

claims are with or without merit or that damages recoverable in the Action would have exceeded

or would have been less than any particular amount.

       10.5    The Parties acknowledge that (a) any certification of the Settlement Class as set

forth in this Agreement, including certification of the Settlement Class for settlement purposes in

the context of Preliminary Approval, shall not be deemed a concession that certification of a

litigation class is appropriate, or that the Settlement Class definition would be appropriate for a

litigation class, nor would Defendant be precluded from challenging class certification in further


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proceedings in the Action or in any other action if the Settlement Agreement is not finalized or

finally approved; (b) if the Settlement Agreement is not finally approved by the Court for any

reason whatsoever, then any certification of the Settlement Class will be void, the Parties and the

Action shall be restored to the status quo ante, and no doctrine of waiver, estoppel or preclusion

will be asserted in any litigated certification proceedings in the Action or in any other action; and

(c) no agreements made by or entered into by Defendant in connection with the Settlement may

be used by Plaintiff, any person in the Settlement Class, or any other person to establish any of

the elements of class certification in any litigated certification proceedings, whether in the Action

or any other judicial proceeding.

       10.6.   No person or entity shall have any claim against the Class Representative, Class

Counsel, the Settlement Administrator or any other agent designated by Class Counsel, or the

Released Parties and/or their counsel, arising from distributions made substantially in accordance

with this Agreement. The Parties and their respective counsel, and all other Released Parties

shall have no liability whatsoever for the investment or distribution of the Settlement Fund or the

determination, administration, calculation, or payment of any claim or nonperformance of the

Settlement Administrator, the payment or withholding of taxes (including interest and penalties)

owed by the Settlement Fund, or any losses incurred in connection therewith.

       10.7.   All proceedings with respect to the administration, processing and determination

of Claims and the determination of all controversies relating thereto, including disputed

questions of law and fact with respect to the validity of Claims, shall be subject to the

jurisdiction of the Court.

       10.8    The headings used herein are used for the purpose of convenience only and are

not meant to have legal effect.




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         10.9   The waiver by one Party of any breach of this Agreement by any other Party shall

not be deemed as a waiver of any other prior or subsequent breaches of this Agreement.

         10.10 All of the Exhibits to this Agreement are material and integral parts thereof and

are fully incorporated herein by this reference.

         10.11 This Agreement and its Exhibits set forth the entire agreement and understanding

of the Parties with respect to the matters set forth herein, and supersede all prior negotiations,

agreements, arrangements and undertakings with respect to the matters set forth herein. No

representations, warranties or inducements have been made to any Party concerning this

Settlement Agreement or its Exhibits other than the representations, warranties and covenants

contained and memorialized in such documents. This Agreement may be amended or modified

only by a written instrument signed by or on behalf of all Parties or their respective successors-

in-interest.

         10.12 Except as otherwise provided herein, each Party shall bear its own costs.

         10.13 Plaintiffs represent and warrant that they have not assigned any claim or right or

interest therein as against the Released Parties to any other Person or Party and that they are fully

entitled to release the same.

         10.14 Each counsel or other Person executing this Settlement Agreement, any of its

Exhibits, or any related settlement documents on behalf of any Party hereto, hereby warrants and

represents that such Person has the full authority to do so and has the authority to take

appropriate action required or permitted to be taken pursuant to the Agreement to effectuate its

terms.

         10.15 This Agreement may be executed in one or more counterparts. Signature by

digital means, facsimile, or in PDF format will constitute sufficient execution of this Agreement.

All executed counterparts and each of them shall be deemed to be one and the same instrument.


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A complete set of original executed counterparts shall be filed with the Court if the Court so

requests.

       10.16 This Settlement Agreement shall be binding upon, and inure to the benefit of, the

successors and assigns of the Parties hereto and the Released Parties.

       10.17 The Court shall retain jurisdiction with respect to implementation and

enforcement of the terms of this Agreement, and all Parties hereto submit to the jurisdiction of

the Court for purposes of implementing and enforcing the settlement embodied in this

Agreement.

       10.18 This Settlement Agreement shall be governed by and construed in accordance

with the laws of the State of New York.

       10.19 This Agreement is deemed to have been prepared by counsel for all Parties, as a

result of arm’s-length negotiations among the Parties. Because all Parties have contributed

substantially and materially to the preparation of this Agreement, it shall not be construed more

strictly against one Party than another.

       10.20 Where this Agreement requires notice to the Parties, such notice shall be sent to

the undersigned counsel: Scott A. Bursor, Bursor & Fisher, P.A., 888 Seventh Avenue, New

York, NY 10019; David P. Milian, Carey Rodriguez Milian Gonya, LLP, 1395 Brickell Avenue,

Miami, Florida 33131; Jonathan R. Donnellan, The Hearst Corporation, Office of General

Counsel, 300 West 57th Street, 40th Floor, New York, NY 10019.

     [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK. SIGNATURE PAGE
                               FOLLOWS]




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                                                       EXHIBIT A
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                                                   HEARST SETTLEMENT CLAIM FORM
THIS CLAIM FORM MUST BE SUBMITTED ONLINE OR POSTMARKED BY [CLAIMS DEADLINE] AND MUST BE FULLY
COMPLETED, BE SIGNED, AND MEET ALL CONDITIONS OF THE SETTLEMENT AGREEMENT.
Instructions: Fill out each section of this form and sign where indicated.
Name (First, M.I., Last): _______________________________          ________     __________________________________
Street Address: ________________________________________________________________________
City: _______________________________________ State: ____ ____                 Zip Code: ____ ____ ____ ____ ____
Email Address (optional): _________________________________________________________________
Contact Phone #: ( ___ ___ ___) ___ ___ ___ – ___ ___ ___ ___ (You may be contacted if further information is required.)
Class Member Verification: By submitting this claim form and checking the boxes below, I declare that I believe I am a member of the Settlement
Class and that the following statements are true (each box must be checked to receive a payment):
□  I had a Michigan street address on or before July 30, 2016 and purchased and/or had a subscription to a Hearst Publication on or before July
30, 2016. Hearst Publications include any magazine or other publication published by Defendant or one of its subsidiaries, predecessors, or
companies acquired by Hearst, or any publication acquired by Hearst, in the United States, including but not limited to any one of the following
magazines or publications: Country Living, Cosmopolitan, Elle Decor, Elle, Esquire, Food Network Magazine, Good Housekeeping, Harper’s
Bazaar, House Beautiful, Marie Claire, O, The Oprah Magazine, Popular Mechanics, Redbook, Road & Track, Seventeen, Town & Country,
Veranda, and Woman’s Day.
□ Under penalty of perjury, all information provided in this Claim Form is true and correct to the best of my knowledge and belief.
Signature: _____________________________________________                Date: ___ ___/ ___ ___/ ___ ___

Print Name: ____________________________________________
The Settlement Administrator will review your Claim Form; you may be required to submit additional documentation to validate your claim.
If accepted, you will be mailed a check for a pro rata share of the Settlement Fund depending on the number of valid claim forms received.
This process takes time, please be patient.
                                   Questions, visit www. hearstsettlement.com or call [toll free number]
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                                                       EXHIBIT B
    Case 1:15-cv-09279-AT-JLC Document 290-1 Filed 07/12/18 Page 45 of 68




From: HearstSettlement@hearstsettlement.com
To:   JonQClassMember@domain.com
Re:   Legal Notice of Class Action Settlement

              NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
          Edwards v. Hearst Communications, Inc., Case No. 1:15-cv-09279-AT-JLC
           (United States District Court for the Southern District of New York)

This notice is to inform you of the settlement of a class action lawsuit with publisher Hearst
Communications, Inc., the Defendant in this case. Plaintiff Josephine James Edwards alleges that
Defendant disclosed its customers’ subscription information to third parties which is alleged to
violate Michigan privacy law. While Hearst believes that its practices were in compliance with
Michigan law, Hearst chose to settle this case, without admitting liability, to focus time, effort
and resources on continuing to provide valued content to its readers, as the organization has
since its founding, and not on additional legal fees and the uncertainty of litigation.

Am I a Class Member? Our records indicate you may be a Class Member. Class Members are
persons who had a Michigan street address on or before July 30, 2016 and purchased and/or had a
subscription to a Hearst Publication on or before July 30, 2016. Hearst Publications include any
magazine or other publication published by Defendant, one of its subsidiaries, predecessors, or
companies acquired by Hearst, or any publication acquired by Hearst, in the United States,
including but not limited to any one of the following magazines or publications: Country Living,
Cosmopolitan, Elle Decor, Elle, Esquire, Food Network Magazine, Good Housekeeping, Harper’s
Bazaar, House Beautiful, Marie Claire, O, The Oprah Magazine, Popular Mechanics, Redbook,
Road & Track, Seventeen, Town & Country, Veranda, and Woman’s Day.

What Can I Get? A Settlement Fund of $50,000,000.00 has been established to pay all valid
claims submitted by the Settlement Class, together with notice and administration expenses,
approved attorneys’ fees and costs, and an incentive award. If you are entitled to relief, you may
submit a claim to receive a pro rata share of the Settlement Fund, which Class Counsel estimates
to be about $155 per class member, although the final amount you receive will also depend on the
number of valid claims submitted.

How Do I Get a Payment? To receive a payment, you must submit a timely and complete Claim
Form by mail or online, submitted or postmarked no later than [claims deadline]. You can submit
the claim form online at www.URL, or by clicking [here.] Your payment will come by check.

What are My Other Options? You may exclude yourself from the Class by sending a letter to
the settlement administrator no later than [objection/exclusion deadline]. If you exclude yourself,
you cannot get a settlement payment, but you keep any rights you may have to sue the Defendant
over the legal issues in the lawsuit. You and/or your lawyer have the right to appear before the
Court and/or object to the proposed settlement. Your written objection must be filed no later than
[objection/exclusion deadline]. Specific instructions about how to object to, or exclude yourself
from, the Settlement are available at [www.hearstsettlement.com]. If you file a claim or do
nothing, and the Court approves the Settlement, you will be bound by all of the Court’s orders and
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judgments. In addition, your claims relating to the alleged disclosure of subscriber information in
this case against the Defendant will be released.

Who Represents Me? The Court has appointed Bursor & Fisher, P.A. and Carey Rodriguez
Milian Gonya, LLP to represent the class. These attorneys are called Class Counsel. You will not
be charged for these lawyers. If you want to be represented by your own lawyer in this case, you
may hire one at your expense.

When Will the Court Consider the Proposed Settlement? The Court will hold the Final
Approval Hearing at _____ .m. on [date] at the Daniel Patrick Moynihan United States
Courthouse, Courtroom 15D, 500 Pearl Street, New York, NY 10007. At that hearing, the Court
will: hear any objections concerning the fairness of the settlement; determine the fairness of the
settlement; decide whether to approve Class Counsel’s request for attorneys’ fees and costs; and
decide whether to award the Class Representative $10,000 from the Settlement Fund for her
services in helping to bring and settle this case. Defendant has agreed that Class Counsel may be
paid reasonable attorneys’ fees from the Settlement Fund in an amount to be determined by the
Court. Class Counsel is entitled to seek no more than one-third of the Settlement Fund, but the
Court may award less than this amount.

How Do I Get More Information? For more information, including a more detailed Notice,
Claim Form, a copy of the Settlement Agreement and other documents, go to
www.hearstmagazinesettlement.com, contact the settlement administrator at 1-___-___-____ or
Hearst Settlement Administrator, [address], or call Class Counsel at 1-866-354-3015.
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                                                       EXHIBIT C
Case 1:15-cv-09279-AT-JLC Document
COURT AUTHORIZED NOTICE OF CLASS
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                             Hearst Settlement
ACTION AND PROPOSED SETTLEMENT     Settlement Administrator
                                   P.O. Box 0000
                                   City, ST 00000-0000

   OUR RECORDS
INDICATE YOU HAVE
PURCHASED AND/OR
HAD A SUBSCRIPTION
    TO A HEARST                    |||||||||||||||||||||||
 COMMUNICATIONS,                   Postal Service: Please do not mark barcode
 INC. PUBLICATION
    AND MAY BE                     XXX—«ClaimID»              «MailRec»
   ENTITLED TO A
                                   «First1» «Last1»
 PAYMENT FROM A                    «C/O»
   CLASS ACTION                    «Addr1» «Addr2»
                                   «City», «St» «Zip» «Country»
    SETTLEMENT.

                                                                          By Order of the Court Dated: [date]
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                                                  HEARST SETTLEMENT CLAIM FORM
THIS CLAIM FORM MUST BE SUBMITTED ONLINE OR POSTMARKED BY [CLAIMS DEADLINE] AND MUST BE FULLY
COMPLETED, BE SIGNED, AND MEET ALL CONDITIONS OF THE SETTLEMENT AGREEMENT.
Instructions: Fill out each section of this form and sign where indicated.
Name (First, M.I., Last): _______________________________          ________     __________________________________
Street Address: ________________________________________________________________________
City: _______________________________________ State: ____ ____                Zip Code: ____ ____ ____ ____ ____
Email Address (optional): _________________________________________________________________
Contact Phone #: ( ___ ___ ___) ___ ___ ___ – ___ ___ ___ ___ (You may be contacted if further information is required.)
Class Member Verification: By submitting this claim form and checking the boxes below, I declare that I believe I am a member of the
Settlement Class and that the following statements are true (each box must be checked to receive a payment):
□ I had a Michigan street address on or before July 30, 2016 and purchased and/or had a subscription to a Hearst Publication on or before
July 30, 2016. Hearst Publications include any magazine or other publication published by Defendant, one of its subsidiaries, predecessors,
or companies acquired by Hearst, or any publication acquired by Hearst, in the United States, including but not limited to any one of the
following magazines or publications: Country Living, Cosmopolitan, Elle Decor, Elle, Esquire, Food Network Magazine, Good
Housekeeping, Harper’s Bazaar, House Beautiful, Marie Claire, O, The Oprah Magazine, Popular Mechanics, Redbook, Road & Track,
Seventeen, Town & Country, Veranda, and Woman’s Day.
□ Under penalty of perjury, all information provided in this Claim Form is true and correct to the best of my knowledge and belief.
Signature: _____________________________________________               Date: ___ ___/ ___ ___/ ___ ___

Print Name: ____________________________________________
The Settlement Administrator will review your Claim Form; you may be required to submit additional documentation to validate your claim.
If accepted, you will be mailed a check for a pro rata share of the Settlement Fund depending on the number of valid claim forms received.
This process takes time, please be patient.
                                 Questions, visit www.[hearstsettlement.com] or call [toll free number]
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A settlement has been reached in a class action lawsuit claiming that Defendant, magazine publisher Hearst Communications, Inc., disclosed its customers’
subscription information to third parties, which is alleged to violate Michigan privacy law. While Hearst believes that its practices were in compliance
with Michigan law, Hearst chose to settle this case, without admitting liability, to focus time, effort and resources on continuing to provide valued
content to its readers, as the organization has since its founding, and not on additional legal fees and the uncertainty of litigation.
Am I a Class Member? Our records indicate you may be a Class Member. Class Members are persons who had a Michigan street address on or before
July 30, 2016 who purchased and/or had a subscription to a Hearst Publication on or before July 30, 2016. Hearst Publications include any magazine or
other publication published by Defendant, one of its subsidiaries, predecessors, or companies acquired by Hearst, or any publication acquired by Hearst,
in the United States, including but not limited to any one of the following magazines or publications: Country Living, Cosmopolitan, Elle Decor, Elle,
Esquire, Food Network Magazine, Good Housekeeping, Harper’s Bazaar, House Beautiful, Marie Claire, O, The Oprah Magazine, Popular Mechanics,
Redbook, Road & Track, Seventeen, Town & Country, Veranda, and Woman’s Day.
What Can I Get? If approved by the Court, a Settlement Fund of $50,000,000.00 will be established to pay all valid claims submitted by the Settlement
Class, together with notice and administration expenses, approved attorneys’ fees and costs, and an incentive award. If you are entitled to relief, you may
submit a claim to receive a pro rata share of the Settlement Fund, which Class Counsel estimates at $X per class member, depending on the number of
valid claim forms submitted.
How Do I Get a Payment? You must submit a timely and properly completed Claim Form no later than [claims deadline]. You may use the Claim Form
attached to this Notice or you can submit one online at [www.hearstsettlement.com]
What are My Other Options? You may exclude yourself from the Class by sending a letter to the settlement administrator no later than
[objection/exclusion deadline]. If you exclude yourself, you cannot get a settlement payment, but you keep any rights you may have to sue the Defendant
over the legal issues in the lawsuit. You and/or your lawyer have the right to appear before the Court and/or object to the proposed settlement. Your written
objection must be filed no later than [objection/exclusion deadline]. Specific instructions about how to object to, or exclude yourself from, the Settlement
are available at [www.hearstsettlement.com]. If you file a claim or do nothing, and the Court approves the Settlement, you will be bound by all of the
Court’s orders and judgments. In addition, your claims relating to the alleged disclosure or subscriber information in this case against the Defendant and
others will be released.
Who Represents Me? The Court has appointed Bursor & Fisher, P.A. and Carey Rodriguez Milian Gonya, LLP to represent the class. These attorneys are
called Class Counsel. You will not be charged for these lawyers. If you want to be represented by your own lawyer in this case, you may hire one at your
expense.
When Will the Court Consider the Proposed Settlement? The Court will hold the Final Approval Hearing at _____ .m. on [date] at the Daniel Patrick
Moynihan United States Courthouse, Courtroom 15D, 500 Pearl Street, New York, NY 10007. At that hearing, the Court will: hear any objections
concerning the fairness of the settlement; determine the fairness of the settlement; decide whether to approve Class Counsel’s request for attorneys’ fees
and costs; and decide whether to award the Class Representative $10,000 from the Settlement Fund for her services in helping to bring and settle this case.
Defendant has agreed to pay Class Counsel reasonable attorneys’ fees in an amount to be determined by the Court. Class Counsel is entitled to seek no
more than one-third of the Settlement Fund, but the Court may award less than this amount.
How Do I Get More Information? For more information, including the full Notice, Claim Form and Settlement Agreement go to
www.hearstsettlement.com, contact the settlement administrator at 1-___-___-____ or Magazine Subscriber Privacy Settlement Administrator, [address],
or call Class Counsel at 1-866-354-3015.




                          Hearst Settlement Administrator
                                        c/o [Settlement Administrator]
                                        PO Box 0000
                                        City, ST 00000-0000




XXX
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                                                       EXHIBIT D
       Case 1:15-cv-09279-AT-JLC Document 290-1 Filed 07/12/18 Page 52 of 68




          UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK
            Edwards v. Hearst Communications, Inc., Case No. 1:15-cv-09279-AT-JLC

           IF YOU PURCHASED AND/OR HAD A SUBSCRIPTION TO A HEARST
     COMMUNICATIONS, INC. MAGAZINE OR OTHER PUBLICATION ON OR BEFORE
     JULY 30, 2016, YOU MAY BE ENTITLED TO A PAYMENT FROM A CLASS ACTION
                                  SETTLEMENT.

A court authorized this notice. You are not being sued. This is not a solicitation from a lawyer.

•     A Settlement has been reached in a class action lawsuit against magazine publisher
      Hearst Communications, Inc. The class action lawsuit involves whether Hearst
      Communications, Inc. disclosed its customers’ subscription information to third parties,
      which is alleged to violate Michigan privacy law.

•     While Hearst believes that its practices were in compliance with Michigan law,
      Hearst chose to settle this case, without admitting liability, to focus time, effort and
      resources on continuing to provide valued content to its readers, as the organization
      has since its founding, and not on additional legal fees and the uncertainty of
      litigation.

•     You are included if you had a Michigan street address on or before July 30, 2016 and
      purchased and/or had a subscription to a Hearst Publication on or before July 30, 2016.
      Hearst Publications include any magazine or other publication published by Defendant,
      one of its subsidiaries, predecessors, or companies acquired by Hearst, or any publication
      acquired by Hearst, in the United States, including but not limited to any one of the
      following magazines or publications: Country Living, Cosmopolitan, Elle Decor, Elle,
      Esquire, Food Network Magazine, Good Housekeeping, Harper’s Bazaar, House
      Beautiful, Marie Claire, O, The Oprah Magazine, Popular Mechanics, Redbook, Road
      & Track, Seventeen, Town & Country, Veranda, and Woman’s Day.

•     Those included in the Settlement will be eligible to receive a pro rata (meaning equal)
      portion of the Settlement Fund, which Class Counsel anticipates to be approximately
      $155.

•     Read this notice carefully. Your legal rights are affected whether you act, or don’t act.

           YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
    SUBMIT A CLAIM This is the only way to receive a payment.
    FORM
    EXCLUDE        You will receive no benefits, but you will retain any rights you currently
    YOURSELF       have to sue the Defendant about the claims in this case.

    OBJECT                  Write to the Court explaining why you don’t like the Settlement.


QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW.HEARSTSETTLEMENT.COM
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 GO TO THE               Ask to speak in Court about your opinion of the Settlement.
 HEARING
 DO NOTHING              You won’t get a share of the Settlement benefits and will give up your
                         rights to sue the Defendant about the claims in this case.

   These rights and options—and the deadlines to exercise them—are explained in this
Notice.


                                     BASIC INFORMATION

 1. Why was this Notice issued?

     A Court authorized this notice because you have a right to know about a proposed
     Settlement of this class action lawsuit and about all of your options, before the Court
     decides whether to give final approval to the Settlement. This Notice explains the
     lawsuit, the Settlement, and your legal rights.

     The Honorable Analisa Torres, of the U.S. District Court for the Southern District of
     New York, is overseeing this case. The case is called Edwards v. Hearst
     Communications, Inc., Case No. 1:15-cv-09279-AT-JLC. The person who sued is
     called the Plaintiff. The Defendant is Hearst Communications, Inc.

 2. What is a class action?

     In a class action, one or more people called class representatives (in this case, Josephine
     James Edwards) sue on behalf of a group or a “class” of people who have similar
     claims. In a class action, the court resolves the issues for all class members, except for
     those who exclude themselves from the Class.

 3. What is this lawsuit about?

     This lawsuit claims that Defendant violated Michigan’s Preservation of Personal
     Privacy Act, M.C.L. § 445.1712 (“VRPA”) by disclosing information related to its
     customers’ magazine subscriptions to third parties. The Defendant denies it violated
     any law. The Court has not determined who is right. Rather, the Parties have agreed
     to settle the lawsuit to avoid the uncertainties and expenses associated with ongoing
     litigation.

 4. Why is there a Settlement?

     The Court has not decided whether the Plaintiff or the Defendant should win this case.
     Instead, both sides agreed to a Settlement. That way, they avoid the uncertainties and
     expenses associated with ongoing litigation, and Class Members will get compensation
     sooner rather than, if at all, after the completion of a trial.
QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW.HEARSTSETTLEMENT.COM
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                        WHO’S INCLUDED IN THE SETTLEMENT?

 5. How do I know if I am in the Settlement Class?

     The Court decided that everyone who fits the following description is a member of the
     Settlement Class:

     Persons who had a Michigan street address on or before July 30, 2016 who purchased
     and/or had a subscription to a Hearst Publication on or before July 30, 2016.

     Hearst Publications include any magazine or other publication published by Defendant,
     one of its subsidiaries, predecessors, or companies acquired by Hearst, or any
     publication acquired by Hearst, in the United States, including but not limited to any
     one of the following magazines or publications: Country Living, Cosmopolitan, Elle
     Decor, Elle, Esquire, Food Network Magazine, Good Housekeeping, Harper’s Bazaar,
     House Beautiful, Marie Claire, O, The Oprah Magazine, Popular Mechanics, Redbook,
     Road & Track, Seventeen, Town & Country, Veranda, and Woman’s Day.

                               THE SETTLEMENT BENEFITS

 6. What does the Settlement provide?

     Monetary Relief: A Settlement Fund has been created totaling $50,000,000.00. Class
     Member payments, and the cost to administer the Settlement, the cost to inform people
     about the Settlement, attorneys’ fees, and an award to the Class Representative will
     also come out of this fund (see Question 13).

     A detailed description of the settlement benefits can be found in the Settlement
     Agreement. [insert hyperlink]

 7. How much will my payment be?

     If you are member of the Settlement Class you may submit a Claim Form to receive a
     portion of the Settlement Fund. The amount of this payment will depend on how many
     of the Class Members file valid claims. Each Class Member who files a valid claim
     will receive a proportionate share of the Settlement Fund, which Class Counsel
     anticipates will be approximately $155. You can contact Class Counsel at 1-866-354-
     3015 to inquire as to the number of claims filed.

 8. When will I get my payment?

     The hearing to consider the fairness of the settlement is scheduled for [Final Approval
     Hearing Date]. If the Court approves the settlement, eligible Class Members whose
     claims were approved by the Settlement Administrator will receive their payment 28

QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW.HEARSTSETTLEMENT.COM
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     days after the Settlement has been finally approved and/or after any appeals process is
     complete. The payment will be made in the form of a check, and all checks will expire
     and become void 180 days after they are issued.

                                  HOW TO GET BENEFITS

 9. How do I get a payment?

     If you are a Class Member and you want to get a payment, you must complete and
     submit a Claim Form by [Claims Deadline]. Claim Forms can be found and submitted
     on-line or you may have received a Claim Form in the mail as a postcard attached to a
     summary of this notice. To submit a Claim Form on-line or to request a paper copy,
     go to [www.hearstsettlement.com] or call toll free, 1-800-000-0000.

     We encourage you to submit your claim electronically on-line. Not only is it easy and
     secure, but it is completely free and takes only minutes!

                            REMAINING IN THE SETTLEMENT

 10. What am I giving up if I stay in the Class?

     If the Settlement becomes final, you will give up your right to sue the Defendant and
     other Released Parties for the claims being resolved by this Settlement. The specific
     claims you are giving up against the Defendant are described in the Settlement
     Agreement. You will be “releasing” the Defendant and certain of its affiliates,
     employees and representatives as described in Section 1.27 of the Settlement
     Agreement. Unless you exclude yourself (see Question 14), you are “releasing” the
     claims, regardless of whether you submit a claim or not. The Settlement Agreement is
     available through the “court documents” link on the website.

     The Settlement Agreement describes the released claims with specific descriptions, so
     read it carefully. If you have any questions you can talk to the lawyers listed in
     Question 12 for free or you can, of course, talk to your own lawyer if you have
     questions about what this means.

 11. What happens if I do nothing at all?

     If you do nothing, you won’t get any benefits from this Settlement. But, unless you
     exclude yourself, you won’t be able to start a lawsuit or be part of any other lawsuit
     against the Defendant for the claims being resolved by this Settlement.




QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW.HEARSTSETTLEMENT.COM
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                          THE LAWYERS REPRESENTING YOU

 12. Do I have a lawyer in the case?

    The Court has appointed Bursor & Fisher, P.A. and Carey Rodriguez Milian Gonya,
    LLP to be the attorneys representing the Settlement Class. They are called “Class
    Counsel.” They believe, after conducting an extensive investigation, that the
    Settlement Agreement is fair, reasonable, and in the best interests of the Settlement
    Class. You will not be charged for these lawyers. If you want to be represented by your
    own lawyer in this case, you may hire one at your expense.

 13. How will the lawyers be paid?

     The Defendant has agreed that Class Counsel attorneys’ fees and costs may be paid out
     of the Settlement Fund in an amount to be determined by the Court. The fee petition
     will seek no more than one-third of the Settlement Fund, plus reimbursement of their
     costs and expenses; the Court may award less than this amount. Under the Settlement
     Agreement, any amount awarded to Class Counsel will be paid out of the Settlement
     Fund.

     Subject to approval by the Court, Defendant has agreed that the Class Representative
     may be paid $10,000 from the Settlement Fund for her services in helping to bring and
     settle this case.

                   EXCLUDING YOURSELF FROM THE SETTLEMENT

 14. How do I get out of the Settlement?

     To exclude yourself from the Settlement, you must mail or otherwise deliver a letter
     (or request for exclusion) stating that you want to be excluded from the Edwards v.
     Hearst Communications, Inc., Case No. 1:15-cv-09279-AT-JLC settlement. Your
     letter or request for exclusion must also include your name, your address, the name of
     the Hearst Communications, Inc. publication(s) to which you subscribed, your
     signature, the name and number of this case, and a statement that you wish to be
     excluded. You must mail or deliver your exclusion request no later than
     [objection/exclusion deadline] to:

                                        Hearst Settlement
                                          0000 Street
                                         City, ST 00000

 15. If I don’t exclude myself, can I sue the Defendant for the same thing later?

     No. Unless you exclude yourself, you give up any right to sue the Defendant for the
     claims being resolved by this Settlement.

QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW.HEARSTSETTLEMENT.COM
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 16. If I exclude myself, can I get anything from this Settlement?

     No. If you exclude yourself, do not submit a Claim Form to ask for benefits.

                             OBJECTING TO THE SETTLEMENT

 17. How do I object to the Settlement?

     If you are a Class Member, you can object to the Settlement if you don’t like any part
     of it. You can give reasons why you think the Court should not approve it. The Court
     will consider your views. To object, you must file with the Court a letter or brief stating
     that you object to the Settlement in Edwards v. Hearst Communications, Inc., Case No.
     1:15-cv-09279-AT-JLC and identify all your reasons for your objections (including
     citations and supporting evidence) and attach any materials you rely on for your
     objections. Your letter or brief must also include your name, your address, the basis
     upon which you claim to be a Class Member (including the name of the Hearst
     Communications, Inc. publication(s) which you purchased or to which you subscribed),
     the name and contact information of any and all attorneys representing, advising, or in
     any way assisting you in connection with your objection, and your signature. If you, or
     an attorney assisting you with your objection, have ever objected to any class action
     settlement where you or the objecting attorney has asked for or received payment in
     exchange for dismissal of the objection (or any related appeal) without modification to
     the settlement, you must include a statement in your objection identifying each such
     case by full case caption. You must also mail or deliver a copy of your letter or brief to
     Class Counsel and Defendant’s Counsel listed below.

     Class Counsel will file with the Court and post on this website its request for attorneys’
     fees by [two weeks prior to objection deadline].

     If you want to appear and speak at the Final Approval Hearing to object to the
     Settlement, with or without a lawyer (explained below in answer to Question Number
     21), you must say so in your letter or brief. File the objection with the Court and mail
     a copy to these two different places postmarked no later than [objection deadline].

                  Court                             Class                       Defendant’s
                                                    Counsel                     Counsel
 The Honorable Analisa Torres
 United States District Court for the         Scott A. Bursor             Jonathan R. Donnellan
 Southern District of New York                Bursor & Fisher PA          The Hearst Corporation
 500 Pearl Street, Courtroom 15D              888 Seventh Avenue          Office of General Counsel
 New York, NY 10007                           New York, NY 10019          300 West 57th Street
                                                                          40th Floor
                                                                          New York, NY 10019


QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW.HEARSTSETTLEMENT.COM
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                                              David P. Milian
                                              Carey Rodriguez
                                              Milian Gonya, LLP
                                              1395 Brickell Avenue
                                              Suite 700
                                              Miami, FL 33131


 18. What’s the difference between objecting and excluding myself from the
     Settlement?


     Objecting simply means telling the Court that you don’t like something about the
     Settlement. You can object only if you stay in the Class. Excluding yourself from the
     Class is telling the Court that you don’t want to be part of the Class. If you exclude
     yourself, you have no basis to object because the case no longer affects you.

                       THE COURT’S FINAL APPROVAL HEARING

 19. When and where will the Court decide whether to approve the Settlement?

     The Court will hold the Final Approval Hearing at [time] on Month 00, 2018 in
     Courtroom 15D at the Daniel Patrick Moynihan United States Courthouse, 500 Pearl
     Street, New York, NY 10007. The purpose of the hearing will be for the Court to
     determine whether to approve the Settlement as fair, reasonable, adequate, and in the
     best interests of the Class; to consider the Class Counsel’s request for attorneys’ fees
     and expenses; and to consider the request for an incentive award to the Class
     Representative. At that hearing, the Court will be available to hear any objections
     and arguments concerning the fairness of the Settlement.

     The hearing may be postponed to a different date or time without notice, so it is a good
     idea to check [www.hearstsettlement.com] or call 1-800-000-0000. If, however, you
     timely objected to the Settlement and advised the Court that you intend to appear and
     speak at the Final Approval Hearing, you will receive notice of any change in the date
     of such Final Approval Hearing.

 20. Do I have to come to the hearing?

     No. Class Counsel will answer any questions the Court may have. But, you are
     welcome to come at your own expense. If you send an objection or comment, you
     don’t have to come to Court to talk about it. As long as you filed and mailed your
     written objection on time, the Court will consider it. You may also pay another lawyer
     to attend, but it’s not required.



QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW.HEARSTSETTLEMENT.COM
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 21. May I speak at the hearing?

     Yes. You may ask the Court for permission to speak at the Fairness Hearing. To do
     so, you must include in your letter or brief objecting to the settlement a statement saying
     that it is your “Notice of Intent to Appear in Edwards v. Hearst Communications, Inc.,
     Case No. 1:15-cv-09279-AT-JLC.” It must include your name, address, telephone
     number and signature as well as the name and address of your lawyer, if one is
     appearing for you. Your objection and notice of intent to appear must be filed with the
     Court and postmarked no later than [objection deadline], and be sent to the addresses
     listed in Question 17.

                              GETTING MORE INFORMATION

 22. Where do I get more information?

This Notice summarizes the Settlement. More details are in the Settlement Agreement. You can
get a copy of the Settlement Agreement at [www.hearstsubscribersettlement.com]. You may
also write with questions to Hearst Settlement, P.O. Box 0000, City, ST 00000. You can call the
Settlement Administrator at 1-800-000-0000 or Class Counsel at 1-866-354-3015, if you have
any questions. Before doing so, however, please read this full Notice carefully. You may also
find additional information elsewhere on the case website.




QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW.HEARSTSETTLEMENT.COM
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                                                       EXHIBIT E
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 JOSEPHINE JAMES EDWARDS, individually and
 on behalf of all others similarly situated,

                                  Plaintiff,              Civil Action No. 15-cv-09279-AT-JLC

        v.

 HEARST COMMUNICATIONS, INC.,

                                  Defendant.



STIPULATION REGARDING UNDERTAKING RE: ATTORNEYS’ FEES, COSTS,
AND EXPENSES

       Plaintiff Josephine James Edwards and Defendant Hearst Communications, Inc.

(“Hearst”) (collectively, “the Parties”), by and through and including their undersigned counsel,

stipulate and agree as follows:

       WHEREAS, Bursor & Fisher P.A. (the “Firm”) desires to give an undertaking (the

“Undertaking”) for repayment of its share of the award of attorneys’ fees, costs, and expenses

approved by the Court, and

       WHEREAS, the Parties agree that this Undertaking is in the interests of all Parties and in

service of judicial economy and efficiency.

       NOW, THEREFORE, the undersigned counsel, on behalf of himself as individual and as

agent for his law firm, hereby submits himself and his law firm to the jurisdiction of the Court

for the purpose of enforcing the provisions of this Undertaking.

       Capitalized terms used herein without definition have the meanings given to them in the

Settlement Agreement.
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       By receiving any payments pursuant to the Settlement Agreement, the Firm and its

shareholders, members, and/or partners submit to the jurisdiction of the United States District

Court for the Southern District of New York for the enforcement of and any and all disputes

relating to or arising out of the reimbursement obligation set forth herein and the Settlement

Agreement.

       In the event that the Final Settlement Order and Judgment or any part of it is vacated,

overturned, reversed, or rendered void as a result of an appeal, or the Settlement Agreement is

voided, rescinded, or otherwise terminated for any other reason, the Firm shall, within thirty (30)

days repay to Defendant or Defendant’s insurers, based upon written instructions provided by

Defendant’s Counsel, the full amount of the attorneys’ fees and costs paid to the Firm from the

Settlement Fund, including any accrued interest.

       In the event the Final Settlement Order and Judgment are upheld, but the attorneys’ fees,

costs, and expenses awarded by the Court or any part of them are vacated, modified, reversed, or

rendered void as a result of an appeal, the Firm shall within thirty (30) days repay to the

Settlement Fund, based upon written instructions provided by the Settlement Administrator, the

attorneys’ fees and costs paid to the Firm from the Settlement Fund in the amount vacated or

modified, including any accrued interest.

       This Undertaking and all obligations set forth herein shall expire upon finality of all

direct appeals of the Final Settlement Order and Judgment.

       In the event the Firm fails to repay to Defendant or Defendant’s insurer any of attorneys’

fees and costs that are owed to it pursuant to this Undertaking, the Court shall, upon application

of Hearst, and notice to the Firm, summarily issue orders, including but not limited to judgments




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 JOSEPHINE JAMES EDWARDS, individually and
 on behalf of all others similarly situated,

                                  Plaintiff,              Civil Action No. 15-cv-09279-AT-JLC

        v.

 HEARST COMMUNICATIONS, INC.,

                                  Defendant.



STIPULATION REGARDING UNDERTAKING RE: ATTORNEYS’ FEES, COSTS,
AND EXPENSES

       Plaintiff Josephine James Edwards and Defendant Hearst Communications, Inc.

(“Hearst”) (collectively, “the Parties”), by and through and including their undersigned counsel,

stipulate and agree as follows:

       WHEREAS, Carey Rodriguez Milian Gonya, LLP (the “Firm”) desires to give an

undertaking (the “Undertaking”) for repayment of its share of the award of attorneys’ fees, costs,

and expenses approved by the Court, and

       WHEREAS, the Parties agree that this Undertaking is in the interests of all Parties and in

service of judicial economy and efficiency.

       NOW, THEREFORE, the undersigned counsel, on behalf of himself as individual and as

agent for his law firm, hereby submits himself and his law firm to the jurisdiction of the Court

for the purpose of enforcing the provisions of this Undertaking.

       Capitalized terms used herein without definition have the meanings given to them in the

Settlement Agreement.
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       By receiving any payments pursuant to the Settlement Agreement, the Firm and its

shareholders, members, and/or partners submit to the jurisdiction of the United States District

Court for the Southern District of New York for the enforcement of and any and all disputes

relating to or arising out of the reimbursement obligation set forth herein and the Settlement

Agreement.

       In the event that the Final Settlement Order and Judgment or any part of it is vacated,

overturned, reversed, or rendered void as a result of an appeal, or the Settlement Agreement is

voided, rescinded, or otherwise terminated for any other reason, the Firm shall, within thirty (30)

days repay to Defendant or Defendant’s insurers, based upon written instructions provided by

Defendant’s Counsel, the full amount of the attorneys’ fees and costs paid to the Firm from the

Settlement Fund, including any accrued interest.

       In the event the Final Settlement Order and Judgment are upheld, but the attorneys’ fees,

costs, and expenses awarded by the Court or any part of them are vacated, modified, reversed, or

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Settlement Fund, based upon written instructions provided by the Settlement Administrator, the

attorneys’ fees and costs paid to the Firm from the Settlement Fund in the amount vacated or

modified, including any accrued interest.

       This Undertaking and all obligations set forth herein shall expire upon finality of all

direct appeals of the Final Settlement Order and Judgment.

       In the event the Firm fails to repay to Defendant or Defendant’s insurer any of attorneys’

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